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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 SHAWNAY RAY AND
 KANTICE JOYNER, on their own
 behalf and on behalf of all others
 similarly situated,

                        Plaintiffs,
                                                           Case No. 1:19-cv-01299-JKB
                v.
                                                           Judge: James K. Bredar
 T-MOBILE US, INC.


                        Defendant.



                       DECLARATION OF CHRISTOPHER MUZIO


       I, Christopher Muzio, declare and state as follows:

       1.      I am over the age of 18, and am competent to make this declaration.

       2.      I am employed as a custodian of records for T-Mobile USA, Inc. (“T-Mobile”),

working in the Executive Response Support Team: Small Claims, Arbitration, and Records, a

Division of the Office of the President. My title is analyst. The facts set forth herein are based on

my personal knowledge, my familiarity with T-Mobile policies and practices, and my review of

business records of T-Mobile, which records were made by, or from information transmitted by, a

person with knowledge of the event described therein, at or near the time of the event described,

and are kept in the ordinary course of the regularly conducted business activity of such person and

T-Mobile, and it is the regular practice of that business activity to make such records. I have

personal knowledge of the facts stated herein and, if called as a witness to testify regarding these

facts, I could and would do so competently.

       3.      T-Mobile provides wireless communication services throughout the United States.
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       4.         T-Mobile is incorporated in Delaware and has its principal place of business in

Washington.

       A.         Plaintiff Shawnay Ray’s Activation of T-Mobile Services in November 2018 and
                  Acceptance of August 2018 Terms and Conditions and Arbitration Agreement.

       5.         T-Mobile’s records reflect Ms. Ray first activated service with T-Mobile on

November 14, 2018. At this time, she activated two lines: mobile number ending in 1488 (the

“1488 line”) and mobile number ending in 1544 (the “1544 line”). In connection with activating

the 1488 and 1544 lines, a T-Mobile account was opened for Ms. Ray ending in the numbers 1522

(the “1522 Account”).

       6.         It is T-Mobile’s regular practice and procedure to require customers to agree to T-

Mobile’s Terms and Conditions when they activate a line of service.

       7.         T-Mobile’s August 22, 2018 Terms and Conditions were in effect when Ms. Ray

opened the 1522 Account and activated service on November 14, 2018. A true and correct copy

of the August 22, 2018 Terms and Conditions is attached hereto as Exhibit A.

       8.         The Terms and Conditions are also publicly available on the T-Mobile website:

https://www.t-mobile.com/responsibility/legal/terms-and-conditions-aug-22-2018.

       9.         The August 22, 2018 Terms and Conditions provides the following regarding a

customer’s acceptance of the agreement with T-Mobile:


        Thanks for choosing T-Mobile. Please read these Terms & Conditions
        (“T&Cs”), which contain important information about your relationship with T-
        Mobile, including mandatory arbitration of disputes between us, instead of class
        actions or jury trials. You will become bound by these provisions once you
        accept these T&Cs. . . .
        You accept these T&Cs by doing any of the following things:
                  giving us a written or electronic signature or confirmation, or telling us
                   orally that you accept;
                  activating, using or paying for the Service or a Device; or
                  opening the Device box.


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         If you don’t want to accept these T&Cs, don’t do any of these things.
         When you accept, you’re telling us that you are of legal age (which means you
         are either legally emancipated, or have reached the age of majority as defined in
         your jurisdiction) and that you are able to enter into a contract. If you accept for
         an organization, you’re telling us that you are authorized to bind that
         organization, and references to “you” in these T&Cs may mean the organization.
Exhibit A at 1.

        10.       T-Mobile’s records show Ms. Ray accepted T-Mobile’s Terms and Conditions

when she opened the 1522 Account and activated two devices on the 1488 and 1544 lines on

November 14, 2018, used the devices, used T-Mobile service, and paid for service.

        11.       The August 22, 2018 Terms and Conditions includes a Dispute Resolution section

that includes T-Mobile’s arbitration provision and class action waiver, which provide in relevant

part:


         Dispute Resolution and Arbitration. YOU AND WE EACH AGREE
         THAT, EXCEPT AS PROVIDED BELOW, ANY AND ALL CLAIMS OR
         DISPUTES IN ANY WAY RELATED TO OR CONCERNING THE
         AGREEMENT, OUR PRIVACY POLICY, OUR SERVICES, DEVICES
         OR PRODUCTS, INCLUDING ANY BILLING DISPUTES, WILL BE
         RESOLVED BY BINDING ARBITRATION OR IN SMALL CLAIMS
         COURT. This includes any claims against other parties relating to Services or
         Devices provided or billed to you (such as our suppliers, dealers, authorized
         retailers, or third party vendors) whenever you also assert claims against us in
         the same proceeding. You and we each also agree that the Agreement affects
         interstate commerce so that the Federal Arbitration Act and federal arbitration
         law, not state law, apply and govern the enforceability of this dispute resolution
         provision (despite the general choice of law provision set forth below). THERE
         IS NO JUDGE OR JURY IN ARBITRATION, AND COURT REVIEW OF AN
         ARBITRATION AWARD IS LIMITED. THE ARBITRATOR MUST
         FOLLOW THIS AGREEMENT AND CAN AWARD THE SAME DAMAGES
         AND RELIEF AS A COURT (INCLUDING ATTORNEYS’ FEES). . . .
         CLASS ACTION WAIVER. YOU AND WE EACH AGREE THAT ANY
         PROCEEDINGS, WHETHER IN ARBITRATION OR COURT, WILL
         BE CONDUCTED ONLY ON AN INDIVIDUAL BASIS AND NOT AS A
         CLASS, REPRESENTATIVE, OR CONSOLIDATED ACTION. If a court
         or arbitrator determines in an action between you and us that any part of this
         Class Action Waiver is unenforceable with respect to any claim, the arbitration
         agreement and Class Action Waiver will not apply to that claim, but they will
         still apply to any and all other claims that you or we may assert in that or any


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         other action. If you opt out of the arbitration provision as specified above,
         this Class Action Waiver provision will not apply to you. Neither you, nor
         any other customer, can be a class representative, class member, or
         otherwise participate in a class, consolidated, or representative proceeding
         without having complied with the opt out requirements above.
Exhibit A at 3 (emphasis in original).

       12.      The August 22, 2018 Terms and Conditions also includes instructions for opting

out of the arbitration procedures and states:


         Notwithstanding the above, YOU MAY CHOOSE TO PURSUE YOUR
         CLAIM IN COURT AND NOT BY ARBITRATION IF YOU OPT OUT
         OF THESE ARBITRATION PROCEDURES WITHIN 30 DAYS FROM
         THE EARLIER OF THE DATE YOU PURCHASED A DEVICE FROM
         US OR THE DATE YOU ACTIVATED A NEW LINE OF SERVICE (the
         “Opt Out Deadline”). You must opt out by the Opt Out Deadline for each line
         of Service. You may opt out of these arbitration procedures by calling 1-866-
         323-4405 or online at www.T-Mobiledisputeresolution.com. Any opt-out
         received after the Opt Out Deadline will not be valid and you will be
         required to pursue your claim in arbitration or small claims court.
Exhibit A at 3 (emphasis in original).

       13.      T-Mobile first included a 30-day window to opt out of the arbitration provision and

class action waiver in its Terms and Conditions on June 28, 2008, and the provision has been

included in the Terms and Conditions since that time. A copy of the June 28, 2008 Terms and

Conditions     are   available   here:   https://www.t-mobile.com/responsibility/legal/terms-and-

conditions-jun-2008.

       14.      T-Mobile’s records reflect that Ms. Ray did not opt out of arbitration with T-Mobile

at any time.

       15.      T-Mobile’s records reflect that when Ms. Ray activated her devices on November

14, 2018, she purchased two SIM cards (TRIPLESIM PLUG 64K T-MOBILE UICC 2017). Ms.

Ray received a receipt for her purchase. A true and correct copy of Ms. Ray’s November 14, 2018




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receipt is attached hereto as Exhibit B.1 This receipt references T-Mobile’s Terms and Conditions,

the arbitration requirement, and the ability to opt out. It explicitly and conspicuously states:


            If you activate or use T-Mobile service, or purchase a T-Mobile device, you
            agree to T-Mobile's Terms and Conditions and any terms specific to your rate
            plan.
            If you have a device or accessory under one of our device programs, refer to
            your agreement for the specific terms and conditions of that program.
            Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for
            new customers YOU OPT OUT WITHIN 30 DAYS OF ACTIVATION, or for
            existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-
            MOBILE’S TERMS AND CONDITIONS. For details see T-Mobile’s Terms
            and Conditions at www.T-Mobile.com/terms-conditions.
Exhibit B (emphasis in original).

        B.       The March 10, 2019 and April 23, 2019 Payment Receipts.

        16.      T-Mobile’s records reflect that since opening her account in November 2018

through the filing of this case, Ms. Ray’s services have been suspended on three separate

occasions: January 14, 2019, March 10, 2019, and April 23, 2019. Ms. Ray made payments on

March 10, 2019 (payment #10211401872) and April 23, 2019 (payment #10227205998) in order

to restore her service.

        17.      T-Mobile issued a receipt for the payment on March 10, 2019, which was sent to

Ms. Ray. Attached hereto as Exhibit C is a true and correct copy of the March 10, 2019 receipt.

T-Mobile issued a receipt for the payment on April 23, 2019, which was sent to Ms. Ray. Attached

hereto as Exhibit D is a true and correct copy of the April 23, 2019 receipt.




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         The Exhibits containing Plaintiffs’ account information (Exhibits B-I) have been
redacted to protect Plaintiffs’ privacy.


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       18.     Both the March 10, 2019 and April 23, 2019 receipts sent to Ms. Ray reference T-

Mobile’s Terms and Conditions, the arbitration requirement, and the ability to opt out. Each

receipt explicitly and conspicuously states:


         If you activate or use T-Mobile service, or purchase a T-Mobile device, you
         agree to T-Mobile's Terms and Conditions and any terms specific to your rate
         plan.
         If you have a device or accessory under one of our device programs, refer to
         your agreement for the specific terms and conditions of that program.
         Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for
         new customers YOU OPT OUT WITHIN 30 DAYS OF ACTIVATION, or for
         existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-
         MOBILE’S TERMS AND CONDITIONS.
         For details see T-Mobile’s Terms and Conditions at www.T-Mobile.com/terms-
         conditions.
Exhibit C and Exhibit D (emphasis in original).

       19.     T-Mobile’s records reflect that Ms. Ray acknowledged her agreement to T-

Mobile’s Terms and Conditions, including the Arbitration requirement and Class Action Waiver,

on numerous occasions throughout the life of her account.

       C.      Plaintiff Kantice Joyner’s Activation of T-Mobile Services in February 2019
               and Acceptance of August 2018 Terms and Conditions and Arbitration
               Agreement.

       20.     T-Mobile’s records reflect Ms. Joyner first activated service with T-Mobile on

February 6, 2019. At this time, she activated mobile number ending in 4960 (the “4960 line”). In

connection with activating the 4960 line, a T-Mobile account was opened for Ms. Joyner ending

in the numbers 0406 (the “0406 Account”).

       21.     T-Mobile’s August 22, 2018 Terms and Conditions were in effect when Ms. Joyner

opened the 0406 Account and activated service on February 6, 2019. The August 22, 2018 Terms

and Conditions are attached as Exhibit A.




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       22.      T-Mobile’s records show Ms. Joyner accepted T-Mobile’s Terms and Conditions

when she opened the 0406 Account and activated the 4960 line on February 6, 2019, used the

device, used T-Mobile service, and paid for service.

       23.      T-Mobile’s records reflect that Ms. Joyner did not opt out of arbitration with T-

Mobile at any time.

       24.      When Ms. Joyner opened account 0406 and activated service with T-Mobile, she

entered into a Service Agreement with T-Mobile on February 6, 2019. Attached as Exhibit E is a

true and correct copy of Ms. Joyner’s acceptance of T-Mobile’s Service Terms. “By accepting

this form, activating or using T-Mobile service, [Ms. Joyner] agree[d] that:”


           Your “Agreement” with T-Mobile includes: (a) this Service Agreement; (b) T-
           Mobile's “Terms and Conditions”; and (c) any terms specific to your Rate Plan
           or service. You can obtain copies of T-Mobile’s Terms and Conditions and your
           Rate Plan specific terms at www.T-Mobile.com (www.T-Mobilepr.com for
           Puerto Rico customers), or by calling Customer Care at (800) 937−8997 or 611
           from your T-Mobile phone. You agree you have received and read your
           Agreement. The English version of this Agreement will control over any other
           version.
           Disputes. T-Mobile requires ARBITRATION OF DISPUTES UNLESS
           YOU OPT−OUT WITHIN 30 DAYS OF ACTIVATION. For details see
           www.T-Mobile.com/terms-conditions.
Exhibit E at 2 (emphasis in original, other emphases omitted).

       25.       Ms. Joyner electronically signed the Service Agreement on February 6, 2019.

Exhibit E at 2. Ms. Joyner activated a device and used T-Mobile service beginning on February

6, 2019.

       26.      T-Mobile records reflect that Ms. Joyner changed her number from line 4960 to

mobile number ending in 6570 (the “6570 line”) on February 7, 2019. Ms. Joyner accepted T-

Mobile’s Terms and Conditions when she used the 6570 line and paid for service.

       27.      On February 7, 2019, Ms. Joyner also upgraded her device and purchased a 32G

LG Stylo device. Ms. Joyner paid for a majority of the device, but entered into an Equipment


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Installment Plan (“EIP”) with T-Mobile Financial Services for the outstanding balance. This

purchase and EIP was added to Ms. Joyner’s 0406 account. Attached as Exhibit F is Ms. Joyner’s

signed EIP dated February 7, 2019.

       28.     The February 2019 EIP contains the following provision concerning the arbitration

requirement under the bolded heading “* Dispute Resolution and Arbitration”:


         This section describes how any disputes between you and T-Mobile will be
         resolved. WE AND YOU EACH AGREE THAT, EXCEPT AS PROVIDED
         BELOW, ANY AND ALL CLAIMS OR DISPUTES IN ANY WAY
         RELATED TO OR CONCERNING THIS AGREEMENT, OUR PRIVACY
         POLICY, OUR SERVICES, EQUIPMENT, DEVICES OR PRODUCTS,
         INCLUDING ANY BILLING DISPUTES, WILL BE RESOLVED BY
         BINDING ARBITRATION OR IN SMALL CLAIMS COURT. This includes
         any claims against others relating to services or equipment provided or billed to
         you (such as our suppliers, dealers or vendors) when you also assert claims
         against us in the same proceeding. This agreement affects interstate commerce
         so that the Federal Arbitration Act and federal arbitration law apply (despite the
         choice of law provision below). THERE IS NO JUDGE OR JURY IN
         ARBITRATION, AND COURT REVIEW OF AN ARBITRATION AWARD
         IS LIMITED. THE ARBITRATOR MAY AWARD ON AN INDIVIDUAL
         BASIS THE SAME DAMAGES AND RELIEF AS A COURT (INCLUDING
         ATTORNEYS’ FEES).
Exhibit F at 3 (emphasis in original).

       29.     The February 2019 EIP contains the following provision concerning the ability to

opt out of the arbitration requirement:


         Notwithstanding the above, YOU MAY CHOOSE TO PURSUE YOUR
         CLAIM IN COURT INSTEAD OF ARBITRATION IF YOU OPT OUT OF
         THESE ARBITRATION PROCEDURES. To opt out, call 1-866-323-4405 or
         complete the opt-out form located at www.T-Mobiledisputeresolution.com. TO
         BE EFFECTIVE, YOU MUST OPT OUT BY THE OPT OUT DEADLINE
         FOR EACH LINE OF SERVICE. THE OPT OUT DEADLINE IS 30 DAYS
         FROM THE EARLIER OF THE DATE OF YOUR SIGNATURE TO THIS
         AGREEMENT, THE DATE YOU PURCHASED EQUIPMENT FROM US
         OR THE DATE YOU ACTIVATED A NEW LINE EXCEPT THAT FOR A
         LINE OF SERVICE ACTIVATED PRIOR TO JUNE 28, 2008, THE OPT OUT
         DEADLINE IS 30 DAYS FROM THE FIRST TIME AFTER DECEMBER 30,
         2011 WHEN YOU AGREED TO EXTEND OR RENEW YOUR TERM OF
         SERVICE FOR THAT LINE.



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Exhibit F at 3 (emphasis in original).

       30.     T-Mobile’s records reflect that Ms. Joyner did not opt out at any time before or

after the EIP agreement.

       D.      The March 7, 2019, March 20, 2019 and April 18, 2019 Payment Receipts.

       31.     T-Mobile’s records reflect that since opening her account in February 2019 through

the filing of this case, Ms. Joyner’s services have been suspended on three separate occasions:

March 7, 2019, March 20, 2019, and April 18, 2019. Ms. Joyner made payments on March 7,

2019, March 20, 2019, and April 18, 2019 in order to restore her service.

       32.     T-Mobile issued a receipt for the payment on March 7, 2019, which was sent to Ms.

Joyner. Attached as Exhibit G is a true and correct copy of the March 7, 2019 receipt. T-Mobile

issued a receipt for the payment on March 20, 2019, which was sent to Ms. Joyner. Attached as

Exhibit H is a true and correct copy of the March 20, 2019 receipt. T-Mobile issued a receipt for

the payment on April 18, 2019, which was sent to Ms. Joyner. Attached as Exhibit I is a true and

correct copy of the April 18, 2019 receipt.

       33.     Each of the March 7, 2019, March 20, 2019, and April 18, 2019 receipts sent to Ms.

Joyner references T-Mobile’s Terms and Conditions, the arbitration requirement, and the ability

to opt out. Each receipt explicitly and conspicuously states:


         If you activate or use T-Mobile service, or purchase a T-Mobile device, you
         agree to T-Mobile's Terms and Conditions and any terms specific to your rate
         plan.
         If you have a device or accessory under one of our device programs, refer to
         your agreement for the specific terms and conditions of that program.
         Disputes. T-Mobile REQUIRES ARBITRATION OF DISPUTES unless for
         new customers YOU OPT OUT WITHIN 30 DAYS OF ACTIVATION, or for
         existing customers YOU PREVIOUSLY OPTED OUT PURSUANT TO T-
         MOBILE’S TERMS AND CONDITIONS. For details see T-Mobile’s Terms
         and Conditions at www.T-Mobile.com/terms-conditions.
       Exhibit G, Exhibit H, and Exhibit I (emphases in original).


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       34.    T-Mobile's records reflect that Ms. Joyner acknowledged her agreement to T-

Mobile's Terms and Conditions, including the Arbitration requirement and Class Action Waiver,

on numerous occasions throughout the life of her account.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on July

8, 2019, in Bernalillo County, New Mexico.




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